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 1                  IN THE UNITED STATES DISTRICT COURT

 2                      FOR THE DISTRICT OF COLUMBIA

 3   UNITED STATES OF AMERICA       .
                     Plaintiff,     .
 4   vs.                            .       Docket No. CR 17-46-RBW
                                    .
 5   KASSIM TAJIDEEN                .       Washington, D.C.
                                    .       December 6, 2018
 6                   Defendant.     .
     . . . . . . . . . . . . . . . .x       2:32 p.m.
 7

 8                       TRANSCRIPT OF PLEA HEARING

 9        BEFORE THE HONORABLE SENIOR JUDGE REGGIE B. WALTON

10                     UNITED STATES DISTRICT JUDGE

11   APPEARANCES:

12   For the Government:     Thomas Gillice, AUSA
                             Jacqueline Lauren Barkett, AUSA
13                           U.S. ATTORNEY'S OFFICE
                             FOR WASHINGTON, DC
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                             Washington, D.C. 20530
15
                             Joseph Palazzo, AUSA
16                           U.S. DEPARTMENT OF JUSTICE
                             Criminal Division, Money Laundering &
17                           Asset Recovery Section
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18                           Bond Building
                             Washington, DC 20530
19

20   For the Defendant:      William W. Taylor, III, Esquire
                             Steven N. Herman, Esquire
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25
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 1   APPEARANCES: [Cont'd]

 2
     Court Reporter:    Cathryn J. Jones, RPR
 3                      Official Court Reporter
                        Room 6521, U.S. District Court
 4                      333 Constitution Avenue, N.W.
                        Washington, D.C. 20001
 5

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 8
     Proceedings recorded by machine shorthand, transcript
 9   produced by computer-aided transcription.

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 1                        P R O C E E D I N G S

 2              THE DEPUTY CLERK:      Your Honor, this afternoon,

 3   this is matter of United States versus Kassim Tajideen.

 4   This is Criminal Record 17-46.       Ask the parties to step

 5   forward and identify yourselves for the record, please.

 6              MR. GILLICE:     Good afternoon, your Honor, Tom

 7   Gillice on behalf of the United States, along with Joseph

 8   Palazzo from the Money Laundering Asset Recovery Section of

 9   the Department of Justice, and Jacqueline Barkett, a special

10   assistant U.S. Attorney in my office.

11              THE COURT:     Good afternoon.

12              MR. TAYLOR:     Bill Taylor with Bill Murphy, Steven

13   Herman.

14              THE COURT:     Says he can hear?

15              MR. TAYLOR:     Yes.   Interpreter device is working.

16              THE COURT:     Counsel want to identify themselves,

17   defense.

18              MR. MURPHY:     William Murphy also for the

19   defendant, Mr. Tajideen.

20              MR. TAYLOR:     I think I already did, but it's Bill

21   Taylor for Mr. Tajideen.

22              THE COURT:     I guess before we proceed I should ask

23   Mr. Tajideen if he has any difficulty understanding the

24   interpreter?

25              THE DEFENDANT:     It's clear.
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 1               THE COURT:     I had a couple of questions before we

 2   proceed.    One of those related to the waiver of appellate

 3   rights.    And a concern I had in reference to the extent of

 4   that waiver; namely, the waiver of the, the waiver of a

 5   statute if it's determined that that statute is

 6   unconstitutional, and also waiver of the provision that if

 7   the conduct doesn't fall within the statute that

 8   nonetheless, there would be a waiver of any appellate

 9   challenge in reference to that.

10               The concern I have regarding the constitutional

11   waiver I just don't understand how if somebody has allegedly

12   committed a crime that it's ultimately determined to be

13   unconstitutional, how that constitutional challenge can be

14   waived, and that's in fact inconsistent with the next

15   provision regarding collateral attack where the right to

16   challenge the unconstitutionality of a statute is reserved.

17               So I don't know why that conflict exists.        And I

18   guess I just have a philosophical difficulty in

19   understanding how somebody can be found guilty of an offense

20   that ultimately is determined to be unconstitutional, or is

21   determined that their conduct fail or falls outside of the

22   scope of the applicable statute.

23               MR. GILLICE:     If I may, your Honor?

24               THE COURT:     Yes.

25               MR. GILLICE:     Section D, Appellate Rights says
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 1   that the client agrees to waive the right to appeal, and

 2   claim that the statute to which he is pleading guilty is

 3   unconstitutional.    Also we, agrees to waive an appeal to

 4   claim that the committed conduct does not fall within the

 5   scope of the statute.     It's slightly different from the

 6   challenge attack provision which says that he will waive any

 7   right to challenge the sentence in other fashions, but

 8   serves his right if a court later finds that the conduct to

 9   which he is pleading guilty does not fall within the advent

10   of the statute.

11              So the difference being, if for example, a court

12   in another jurisdiction or the DC Circuit court in

13   responding to an appellate by another person were to find

14   that some particularity of what the defendant is pleading to

15   did not fall within the advent of the IEEPA statute or the

16   conspiracy statute then he would be able to argue that in an

17   appeal later on.

18              But he himself cannot raise that issue hereafter.

19              THE COURT:    Okay.

20              MR. TAYLOR:    These two paragraphs, the waiver of

21   the appeal rights and collateral attack, are designed to be

22   consistent with each other.      If a defendant is convicted or

23   pleads guilty to an offense and the judge enters a judgment

24   of conviction then he cannot appeal that conviction on any

25   ground.   He waives his rights to appeal except for
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 1   sentencing issues may be concerned.

 2              We acknowledge that limitation of what he could

 3   appeal to the Court of Appeals from.       However, we preserved

 4   his right to attack this conviction in the event that the

 5   Court of Appeals or the Supreme Court determined that the

 6   statute under which he was prosecuted was unconstitutional.

 7   In other words, the waiver doesn't preclude him from

 8   attacking on the basis of a subsequent development of law.

 9              THE COURT:     I understand.   With that understanding

10   I agree that its appropriate.

11              MR. GILLICE:     Your Honor, if I may just one more

12   thing before we commence with the entry of the plea?

13              THE COURT:     Yes.

14              MR. GILLICE:     At the close of the plea proceeding,

15   your Honor, we intend to ask the Court for permission to

16   file the plea agreement itself in a redacted form on the

17   public record.    There is only one redaction from the plead

18   agreement, and so I'd ask the Court avoid mentioning that

19   paragraph on the public record.      It's on page 12.     It is

20   Subparagraph L of Section 9.

21              THE COURT:     Okay.

22              MR. GILLICE:     It contains routing information,

23   your Honor, for the forfeiture payment, and so we will ask

24   the Court to agree that that for secure purposes should be

25   --
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 1              THE COURT:     Routing -- I'm sorry, this is on page

 2   12?

 3              MR. GILLICE:     Page 12, it discusses the manner in

 4   which the forfeiture judgment would be paid, the parties

 5   through whom it would be paid.

 6              THE COURT:     Right.    Where's the routing

 7   information?

 8              MR. GILLICE:     Well, just the names of the parties

 9   and the specifics that are listed there.

10              THE COURT:     Any objection?

11              MR. TAYLOR:     No, we asked for it.

12              THE COURT:     Very well.    Now is it anticipated that

13   he would be sentenced today?

14              MR. GILLICE:     No, your Honor.

15              THE COURT:     Okay.    I didn't think that was the

16   case.   Okay.   And at what point do you all anticipate coming

17   back before me for sentencing?

18              MR. GILLICE:     We preliminarily discussed a date in

19   January.   What needs to happened between now and then, of

20   course, the Court needs to accept the guilty plea or

21   indicate that it would accept it, and the defense counsel

22   need to file a motion to withdraw its appeal.         The D.C.

23   Circuit would need to act on that motion to withdraw the

24   appeal, and then the Court will have full jurisdiction then

25   to finally accept the plea and enter a sentence.
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 1              THE COURT:     I assume the Court of Appeals will

 2   grant that request, but what if they opted not to, then all

 3   we would do here would be null and void, right?

 4              MR. GILLICE:     Technically, that's correct.      The

 5   D.C. Circuit has granted the defendant, the defendant's

 6   unopposed motion for a limited remand to this Court for the

 7   Court to hold this hearing?

 8              THE COURT:     They did?

 9              MR. TAYLOR:     Yes, but not for you to enter a final

10   judgment, so that's, he's right.

11              THE COURT:     So I would only go through the plea

12   colloquy, but not enter a judgment until at some point

13   later?

14              MR. TAYLOR:     Correct.

15              THE COURT:     Okay.

16              MR. TAYLOR:     And --

17              THE COURT:     I've never had this happened before,

18   but --

19              MR. TAYLOR:     Well, I've never done anything like

20   this, but I'm sure that it's, we've touched all the right

21   bases.   The think that we are requesting the Court to do as

22   an initial matter is to approve the plea agreement.          The

23   time of sentencing is driven by the financial transaction

24   that needs to occur to comply with his agreement in this, in

25   that paragraph which is being redacted.        That's not
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 1   something that can happen quickly.       So, and the plea -- and

 2   the agreement says that by agreement of the parties

 3   sentencing will not occur until after that money has been

 4   delivered to the appropriate place.

 5              So we need six weeks I think to get that done.

 6   But in order to do that we need the Court to approve the

 7   plea agreement and to enter what we're going to submit to

 8   you tomorrow is a consent judgment of forfeiture.

 9              THE COURT:     Well if the government's confident

10   that I am aware of any prior criminal history that he has

11   that would be obviously my main concern.        And if the

12   government is satisfied that what has been provided to me in

13   that regard is all that's out there then it would seem to me

14   that the agreement would be fair in reference to the term of

15   incarceration coupled with the amount of money he would have

16   to pay by way of the forfeiture.

17              MR. GILLICE:     Your Honor, the defendant has no

18   criminal history in the United States.        Has one prior

19   conviction in Belgium.      The court may recall from our

20   detention hearing in which he was convicted of an offense

21   which the name escapes me right now, but it had to do with

22   inaccurate statements on documents, so in essence forged

23   documents and that conviction was in --

24              MR. TAYLOR:     2003.

25              MR. GILLICE:     -- 2003.
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 1              THE COURT:     Well, I mean, if the government is

 2   confident that that's the only criminal history that he has

 3   then it would seem to me that what has been agreed to by the

 4   parties pursuant to 11(C)(1)(c) would be reasonable.

 5              MR. TAYLOR:     Thank you, your Honor.

 6              MR. GILLICE:     Thank you, your Honor.

 7              THE COURT:     Okay.   So I don't think then I need to

 8   cover in my colloquy with him at this time those provisions

 9   that relate to 11(C)(1)(c) in regards to if I did not agree

10   to the agreement, so I don't think I need to cover those

11   provisions.

12              MR. TAYLOR:     We agree.

13              THE COURT:     Okay.   Place him under oath.

14              Thereupon,

15                             KASSIM TAJIDEEN

16   having been first duly sworn by the Deputy Clerk, was

17   examined and testified, as follows:

18              THE DEFENDANT:     Yes.

19              THE COURT:     Okay.   Counsel, I assume you've

20   thoroughly reviewed with your client the government's plea

21   letter dated November 23rd, 2018, and you're confident he

22   understands the provisions set forth therein, that you also

23   reviewed with him the Statement of Facts and that he agrees

24   to those facts, also the elements of the offense, also the

25   various penalties that he faces, and also there's a Consent
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 1   Order of Forfeiture, and I assumed you've reviewed that with

 2   him also?

 3                  MR. TAYLOR:    I have, your Honor.

 4                  THE COURT:    And you're confident he understands

 5   all that information?

 6                  MR. TAYLOR:    I am confident he understands, yes.

 7   BY THE COURT:

 8   Q       Mr. Tajideen, you should understand that now that

 9   you've been placed under oath that anything that you say to

10   me in response to the questions I'm going to ask you could

11   be used against you at some later time if you were charged

12   with perjury or for making a false statement.         Do you

13   understand that?

14   A       Yes, I do.

15   Q       And do you understand what perjury means?      That means

16   making a false statement after you've been placed under

17   oath?

18   A       Yes, I do.

19   Q       And understanding how any statements you make to me

20   could be used against, do you want to respond to my

21   questions?

22   A       Yes.

23   Q       How old are you sir?

24   A       Sixty-three.

25   Q       And how far did you go in school?
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 1   A    Grade five.

 2   Q    Excuse me?

 3   A    Grade five.

 4   Q    And your home language is what?        What language do you

 5   speak?

 6   A    Arabic.

 7   Q    And the schooling that you received that was in Arabic?

 8   A    Yes.

 9   Q    And you're not having any difficulty understanding the

10   interpretation being provided to you today?

11   A    Everything is clear.

12   Q    Now have you ever been treated for any type of mental

13   illness or emotional disturbance?

14   A    No.

15   Q    Have you recently had any alcohol, any type of

16   medication or anything else that's affecting your ability to

17   understand what's going on here today?

18   A    No.

19   Q    Now I have before me this document, which is a letter

20   from the government's lawyer to your lawyer, setting forth

21   the terms of the plea agreement in this case.         It is a 17

22   page document.     And on the 17th page of the document I see

23   what appears to be your signature.       Did you sign this

24   document?

25   A    Yes.
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 1   Q    And did you review the document with your lawyer before

 2   you signed it?

 3   A    Yes.

 4   Q    And do you feel that you understand everything that's

 5   in this document?

 6   A    Yes.

 7   Q    And do you need anymore time to review it with your

 8   lawyer before we proceed?

 9   A    No.

10   Q    Okay.   I'm going to review the document with you to

11   make sure that we have the same understanding as to what

12   this agreement is.     As I understand sir, you will plead

13   guilty to Count 11 of the superseding indictment which

14   charges you with conspiracy to launder monetary instruments,

15   which a violation of Title 18, of the United States Code,

16   Section 1956(h).     Is that, in fact, what you're prepared to

17   plead guilty to today, sir?

18   A    Yes.

19   Q    Okay.   I'm going to review with you the penalties that

20   you potentially face in this case.       As far as prison is

21   concerned under this statute you could be sentenced up to 20

22   years in prison.     Do you understand that?

23   A    Yes.

24   Q    As far as a fine, you could be required to pay a fine

25   of up to $5,000, or two times the value of any property that
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 1   was involved in the illegal transactions that you're

 2   pleading guilty to.       Do you understand that?

 3               MR. TAYLOR:     May I, your Honor, you said five

 4   thousand.

 5   BY THE COURT:

 6   Q    $500,000, I'm sorry.       Do you understand that?

 7   A    Yes.

 8   Q    And in reference to any monetary or money obligation I

 9   would impose in this case if you were given an opportunity

10   to pay that over time, and if you didn't pay it on time then

11   you could be required to pay penalties and interest

12   regarding late payments.       Do you understand that?

13   A    I understand.

14   Q    And you're agreeable with that?

15   A    Yes.

16   Q    Now if you are required to serve a prison sentence once

17   you're released from prison, I could require that you be

18   under the visitation of our probation department for up to

19   three years.    Do you understand that?

20   A    Yes.

21   Q    Also, I could require under the United States

22   Sentencing Guidelines that you pay for the cost of your

23   incarceration, if you are incarcerated, and then if you're

24   on supervision in the community the cost of your

25   supervision.    Do you understand that?
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 1                In other words, it cost money to have somebody in

 2   prison, and the taxpayers have to pay for that.         If that

 3   person is in the community being supervised it cost money

 4   for that supervision.       And again the taxpayers have to pay

 5   for that.     So if you are put in prison or if you're on

 6   supervision in the community I could, if I found that you

 7   could pay for those costs, I could require that you pay for

 8   the cost of your incarceration and for the cost of your

 9   supervision in the community.

10                Do you understand that?

11   A    Yes.

12   Q    I also must require that you pay to the court what is

13   called a special assessment, and that has to be in the

14   amount of $100, and you have to pay that before you're

15   sentenced.     Do you understand that?

16   A    Yes.

17   Q    There also is a forfeiture provision in this case, and

18   there also -- is this Consent Order of Forfeiture is that

19   operable?     Or was there something else going to be

20   submitted?

21                MR. TAYLOR:    That will be --

22                THE COURT:    It will be something else presented?

23                MR. TAYLOR:    We would like to file a motion

24   tomorrow to ask you to sign that order and place it under

25   seal for the same reasons that --
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 1                 THE COURT:    The same order?

 2                 MR. TAYLOR:    Same order.   We wanted you to see it,

 3   but we would ask that it not be placed on the public record

 4   but that it be sealed and we'll file such an application, a

 5   joint application tomorrow.

 6                 THE COURT:    Okay.

 7   BY THE COURT:

 8   Q      Now in reference to the forfeiture provision, I

 9   understand sir, that you are agreeing to the forfeiture

10   which is set forth in the forfeiture provision of the

11   superseding indictment that you're pleading guilty to; is

12   that right?

13   A      Yes.

14   Q      And as I understand, sir, that forfeiture that you're

15   agreeing to is a money judgment in the amount of

16   $50 million; is that right, sir?

17   A      Yes.

18   Q      And that you will satisfy that money obligation as set

19   forth in the superseding indictment; is that right?

20   A      Yes.

21   Q      And the payment of that $50 million would be that

22   amount minus any credit that you're entitled to under

23   Section G of the 11th provision of this agreement and as I

24   understand that amounts to $4,521,033.59; is that right,

25   sir?
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 1   A    Yes.

 2   Q    And therefore that would leave a balance of

 3   $45,478,966.41; is that right?

 4               THE INTERPRETER:     Sir, your Honor, I did not get

 5   the number.

 6               THE COURT:   $45,478,966.41.

 7               THE DEFENDANT:     Yes.

 8   BY THE COURT:

 9   Q    And did you have an opportunity to look at page 12 and

10   11 of this agreement which sets forth those amounts of money

11   that you're entitled to a credit for?

12   A    Yes.

13   Q    And you agree that those amounts are accurate?

14   A    Yes.

15   Q    Now understanding the -- well, also I could require

16   that you pay restitution in this case which would be any

17   loss of money that occurred as a result of your conduct.           Do

18   you understand that?

19   A    Yes.

20   Q    However, the government is not asking me to impose any

21   type of restitution obligation.       Do you understand that?

22   A    Yes.

23   Q    Now the government has indicated what they believe your

24   prior criminal history is.       And it would not qualify you as

25   a career criminal, but I still have to advise you that if it
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 1   were determined that you had been convicted in the past of

 2   two or more either crimes of violence or felony drug

 3   convictions that you would then qualify as a career

 4   criminal.    And if you qualified as a career criminal then

 5   the sentence I could impose could be greater than what I

 6   have already indicated.      In fact, under certain

 7   circumstances it could mean you incarcerated for the rest of

 8   your life without the possibility of ever being released.

 9   Do you understand that?

10   A    Yes.

11   Q    Understanding everything I've indicated to you in

12   reference to the potential penalties that you face by

13   pleading guilty in this case, do you still want to enter a

14   plea of guilty?

15   A    Yes.

16               MR. TAYLOR:    With respect, your Honor, I don't

17   believe you asked him about the five years.

18               THE COURT:    Five years.

19               MR. TAYLOR:    The agreed upon.

20   BY THE COURT:

21   Q    Oh, I'll get to that.      I haven't gotten to the

22   1(c)(1)(C) provision yet.      Now in consideration of your

23   pleading guilty to the offense I've indicated I understand

24   the government has agreed not to prosecute you civilly or

25   criminally for money violations in furtherance of the
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 1   specific, unlawful activity of violating the International

 2   Emergency Economic Powers Act that occurred during the

 3   period of the conspiracy as set forth in the Statement of

 4   Offense, or for such legal violations during the same period

 5   set forth in the Statement of Facts.        Is that also your

 6   understanding?

 7   A    Yes.

 8   Q    I also understand that the government will request that

 9   I dismiss the remaining counts of the superseding indictment

10   in this case with prejudice at the time of your sentencing.

11   Do you understand that?

12   A    Yes.

13   Q    However, I understand that you agree that the United

14   States has evidence supporting those charges that are being

15   dismissed.   Do you agree to that?

16   A    Yes.

17   Q    Now the government does expressly reserve the right to

18   prosecute you for any crime of violence whether it's a crime

19   of violence under the United States Code or the District of

20   Columbia code, if in fact you committed such a crime of

21   violence prior to or after you signed this agreement.           Do

22   you understand that?

23   A    Yes.

24   Q    However, the government does represent that it is not

25   aware that you've engaged in any type of crime of violence.
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 1   Do you understand that?

 2   A    Yes.

 3   Q    Now I understand that after you have entered your plea

 4   of guilty to the offense you're pleading guilty to in this

 5   case that your wife, Huda Hussein Saad, and that your four

 6   children will not be prosecuted criminally or civilly by the

 7   government for any International Emergency Economic Powers

 8   Act violations, or money laundering offenses in furtherance

 9   of those violations that occurred or occurring during the

10   time set forth in the Statement of Offense.         Nor for

11   conspiracy to defraud the United States during that same

12   period of time as set forth in the superseding indictment.

13   Is that also your understanding?

14   A    Yes.

15   Q    And I understand that you understand that the agreement

16   not to prosecute only applies to persons and companies set

17   forth in Section III of this agreement on page 2 and 3.            And

18   so that I don't butcher the names of the company I'll have

19   counsel for the record indicate what the name of those

20   companies are.

21               MR. TAYLOR:    Shall I do it?

22               THE COURT:    Either one.

23               MR. TAYLOR:    International cross trade company.

24               THE DEFENDANT:    Yes.

25               MR. TAYLOR:    Sicam Limited, Epsilon Trading FZE,
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 1   Ovlas Trading SA, Golfrate Holdings, Angola Limitada, Afri

 2   Belg Commercio E Industria, LDA; All Commerce-Angola, LDA;

 3   Chirang Commercial, LDA; Massabia, LDA; Muteba Distribuicao,

 4   S.A.; Afrimex SAL Off-shore; Al Massar Real Estate Company;

 5   Delhamiyeh Development Company a/k/a DeldiCo; Delhamiyeh

 6   Rural Club; Elissar General Trading, LLC; Galaxy Flame

 7   Trading SAL Off-Shore; Societe Rifiyeh pour l'Amelioration

 8   Immobiliers SARL, a/k/a Company for Rural Property

 9   Development; Impex International Limited; Grupo Arosfran

10   Empreendimentso e Participacoes SARL; Ovlas Trading SA SAL

11   Off-Shore; FozKudia Industrial, LDA; Cogimbo; Cedar Man SAL

12   Off-shore; Murex Investment and Development SAL Off-Shore;

13   Oriental International Limited (RAK Off-shore); and Tanit

14   Plastics Limited, LDA.

15   BY THE COURT:

16   Q    Now sir, is that your understanding of the companies

17   that are covered by this agreement?

18   A    Yes.

19   Q    And I didn't mention the name of your four children who

20   are also subject to this agreement, and I should indicate

21   their names on the record.      Those four children I understand

22   are Ali Kassim Tajideen, Mohamad Kassim Tajideen, Hussen

23   Kassim Tajideen, Sylvana Kassim Tajideen; is that correct,

24   those are the four children we're talking about?

25   A    Sylvana.
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 1   Q    Okay.

 2   A    Yes.

 3   Q    Now there is an agreement that you've reached along

 4   with your lawyers and the government regarding what the

 5   appropriate sentence is in this case.        It's being

 6   recommended to me under what is called Rule 11 (C)(1)(c) of

 7   the Federal Rules of Criminal Procedure.        And that agreement

 8   provides that you would be sentenced to a term of 60 months

 9   incarceration, minus any time that you're entitled to

10   receive while you were detained pending your sentencing and

11   also what is called good time credit you would receive based

12   upon your good behavior while you're incarcerated, or any

13   other reduction that you're entitled to.

14                Is that also your understanding, sir?

15   A    Yes.

16   Q    And there's an agreement that once you serve that

17   sentence that you would not be required to serve a period of

18   either supervised release or probation.        Is that also your

19   understanding?

20   A    Yes.

21   Q    And as I indicated before that there also would be a

22   forfeiture of a money judgment in amount of $50 million, and

23   that has to be paid before you're sentenced.         Is that also

24   your understanding?

25   A    Yes.
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 1   Q    Also there is an agreement as I indicated before that

 2   there would not be a fine imposed.

 3   A    Yes.

 4   Q    Also there is an agreement that the government will not

 5   seek to have you pay restitution as a part of your sentence.

 6   Is that also your understanding?

 7   A    Yes.

 8   Q    And those are the only agreements that you have with

 9   the government about what your sentence should be?

10   A    Yes.

11   Q    Now I also understand that both you and the government

12   have reserved your right to describe fully both orally and

13   in writing to me the nature and seriousness of your

14   misconduct including any misconduct not described in the

15   charge that you're pleading guilty to.        Is that also your

16   understanding?

17   A    Yes.

18   Q    I also understand that you and the government agree

19   that the factual basis underlying the Office of Foreign

20   Assets Controls designation of you is not relevant for the

21   purpose of the sentencing in this case.        Is that your

22   understanding?

23   A    Yes.

24   Q    I also understand the government has previously

25   informed you and your lawyers and is informing me now that
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 1   at sentencing it does not intend to prove or argue that you

 2   supported Hezbollah or terrorism or any other facts that

 3   allegedly supported your designation as a designated, I'm

 4   sorry, as a specially designated global terrorist by the

 5   United States Department of Treasury, Forfeiture Assets

 6   Control.    Is that your understanding?

 7   A    Yes.

 8   Q    Therefore, any arguments made by the government about

 9   sentencing shall not include any such allegations.          Do you

10   understand that?

11   A    Yes.

12   Q    Also I understand that any arguments that you or your

13   lawyers make regarding sentencing will not seek to refute

14   the factual basis for the Office of Foreign Assets Control

15   designation; is that right?

16   A    Yes.

17   Q    I also understand that you and the government agree

18   that the Office of Foreign Assets Control designation of you

19   as a Specially Designated Global Terrorist was not enforced

20   at the time of the conduct described in the superseding

21   indictment and the Statement of Facts, and that the

22   existence alone of said designation without regard to its

23   factual basis supports the guilty plea that you're entering

24   in this case.    Do you agree to that?

25               MR. TAYLOR:   Respectfully, your Honor, I believe I
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 1   heard you say was not enforced.           The agreement is tentative

 2   that it was enforced.

 3   BY THE COURT:

 4   Q       Okay.     You understand that change that it was enforced?

 5   A       Yes.

 6   Q       And you agree to that?

 7   A       Yes.

 8   Q       And is there an agreement that I would proceed to your

 9   sentencing without receiving a presentence report.           And

10   based upon the government's agreement to proceed in that

11   manner and their representation about what your criminal

12   history is I would agree to do that.          Do you understand

13   that?

14   A       Yes.

15   Q       And also I understand that you appreciate that your

16   lawyers will provide to the extent necessary any additional

17   information needed for your designation by the Federal

18   Bureau of Prisons or classification by the Federal Bureau of

19   Prisons.        Do you understand that?     Do you understand that,

20   sir?

21                   MR. TAYLOR:   I don't think the interpreter got

22   your --

23   BY THE COURT:

24   Q       That if there's additional information the Bureau of

25   Prisons needs regarding your designation and classification
     Case 1:17-cr-00046-RBW Document 220 Filed 12/19/18 Page 26 of 69     26




 1   your lawyers are agreeing they will provide that information

 2   to the Bureau of Prisons.        Do you understand that?

 3   A    Yes.

 4               THE COURT:   You wanted to say something, have

 5   somebody from probation here.

 6               MS. MOSES-GREGORY:      Thank you, Judge, Renee

 7   Moses-Gregory on behalf of probation.        For the record, your

 8   Honor, based on the sentence that the defendant has agreed

 9   to, we as a practice if there is no presentence report

10   completed we do a supplemental report to the Bureau of

11   Prisons, and we conduct an interview as if we were preparing

12   a presentence report.

13               THE COURT:   And how long will it take for you to

14   do that?

15               MS. MOSES-GREGORY:      It's something that's done

16   after sentencing.

17               THE COURT:   It's done after sentencing?

18               MS. MOSES-GREGORY:      Yes, your Honor.   So we would

19   want -- I don't know how quickly the defendant would be

20   transferred or designated, but we would want to interview

21   him as soon as possible.

22               THE COURT:   Okay.     Well, we'll have to obviously

23   let you know when the sentencing will be.        I'm not sure

24   exactly when that will be.        The party indicated about six

25   weeks from now?
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 1              MR. TAYLOR:     We were looking for January 18th,

 2   your Honor, if that's agreeable with you.

 3              THE COURT:     I know I have some time I have to be

 4   in Pittsburgh in trial.      Let me see, January 18th you said?

 5              MR. TAYLOR:     Yes.

 6              THE COURT:     That is available.    I assume I might

 7   be in Pittsburgh, but hopefully not.        We'd have to do it at

 8   two o'clock.

 9              MS. MOSES-GREGORY:     And your Honor, I do not know

10   where he's being housed, the defendant right now, we can do

11   the interview prior --

12              MR. TAYLOR:     Stafford jail, Stafford, Virginia.

13              MR. GILLICE:     Rappahannock.

14              THE COURT:     That's a good distance from here.

15              MS. MOSES-GREGORY:     Your Honor, our marshal

16   service is very accommodating, and we could send a request

17   and ask that --

18              THE COURT:     He be brought up?

19              MR. TAYLOR:     We're happy to coordinate with the

20   probation department.

21              THE COURT:     Okay.

22              MS. MOSES-GREGORY:     Thank you, your Honor.

23   BY THE COURT:

24   Q    Thank you.    Now sir, to the extent there's been an

25   agreement between you your lawyers and the government
     Case 1:17-cr-00046-RBW Document 220 Filed 12/19/18 Page 28 of 69    28




 1   regarding what should be said or not said or what should be

 2   done in reference to your sentencing those agreements only

 3   apply at the time of your sentencing and they do not apply

 4   if there are any proceedings that would take place after

 5   you're sentenced either before me or before the Federal

 6   Bureau of Prisons.       Do you understand that?

 7   A    Yes.

 8               MR. TAYLOR:     May I, your Honor.     There's a

 9   provision in this agreement that provides that in the event

10   Mr. Tajideen petitions to the Bureau of Prisons for transfer

11   --

12               THE COURT:     I haven't gotten to that yet.

13               MR. TAYLOR:     -- to Belgium that this is a post

14   sentencing matter in which the government is bound as a term

15   of the contract under certain circumstances.

16               THE COURT:     Okay.   I was going to go over that, I

17   hadn't gotten there yet.

18   BY THE COURT:

19   Q    Now I also understand that the government will not

20   object to your request of me for recommendation that you be

21   designated to serve your sentence by the United States

22   Bureau of Prisons at a minimum security institution, or to

23   be, or to a specified institution that you and your lawyers

24   select that meets your particular needs as long as that

25   institution is at least a minimum security institution
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 1   affiliated with the United States Bureau of Prisons.          Is

 2   that also your understanding, sir?

 3   A    Yes.

 4   Q    Also I understand that the government is not opposing a

 5   request to the Federal Bureau of Prisons that you be

 6   permitted to serve your sentence in a facility in the

 7   kingdom of Belgium pursuant or under International Prisoner

 8   Transfer program, if and only if, the government receives

 9   assurances from the government of Belgium that the length of

10   your incarceration will not be reduced beyond any reduction

11   you're entitled to receive as calculated by the United

12   States Bureau of Prisons.

13               Do you understand that, sir?

14   A    Yes.

15   Q    Also, you should understand that the government once

16   you're sentenced is not obligated after the sentence is

17   imposed to request that that sentence be reduced.          Do you

18   understand that?

19   A    Yes.

20   Q    I also understand that the government is going to

21   request that you be detained pending your sentencing.          I

22   understand that you will not object to that request provided

23   that you continue to be detained at the Rappahannock

24   Regional jail pending your sentencing.        Is that also your

25   understanding?
     Case 1:17-cr-00046-RBW Document 220 Filed 12/19/18 Page 30 of 69     30




 1   A     Yes.

 2   Q     Now there are a number of waivers that you've agreed

 3   to.   I'll cover some of those now and some later.         But one

 4   of the waiver or rights that you're giving up is what is

 5   called a waiver of venue in the United States, if somebody

 6   is accused of committing a crime, then they have a right to

 7   have their case tried or held in a particular location in

 8   the United States.     I understand that you're waiving or

 9   giving up any challenge that you could make that that is not

10   appropriately here in the District of Columbia.         Is that

11   right?

12   A     Yes.

13   Q     You're also waiving what is called a statute of

14   limitation offense, and in reference to most criminal

15   offenses there is what is called a statute of limitations,

16   which means that a person has to be charged with a crime

17   within a certain period of time after they committed that

18   crime.   If they are charged with that crime after that time

19   has expired then the person can say it's too late to charge

20   me, and if they can show that's right then the charges would

21   have to be dismissed.     Do you understand that?

22   A     Yes.

23   Q     I understand that you're waiving our giving up that

24   right, which means if at the time you signed this agreement

25   there were other criminal offenses you could be charged
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 1   with, and if for some reason this guilty plea went away and

 2   if at that later time the government was seeking to charge

 3   you with those offenses you would not be able to say it's

 4   too late to charge me with those offenses because it was not

 5   too late at the time you signed this agreement.

 6                Do you understand that?

 7   A    Yes.

 8   Q    Now you're waiving a number of trial rights, and I'll

 9   cover most of those later.      One of the rights you have is

10   the right to receive information from the government about

11   your case.     To the extent that they haven't already provided

12   that information to you, I understand that you're giving up

13   your right or waiving your right to receive that information

14   from the government in the future; is that right, sir?

15   A    Yes.

16   Q    Now normally when somebody is going to plead guilty and

17   if they have discussions with the government about their

18   case and tell the government things about their case, trying

19   to negotiate a plea, and then when they come into a plea

20   hearing like this they make further statements about their

21   case, if for some reason their guilty plea goes away

22   normally those statements they made negotiating with the

23   government and the statements they make before a judge at a

24   hearing like this can't be used against them in future

25   criminal or civil cases.      Do you understand that?
     Case 1:17-cr-00046-RBW Document 220 Filed 12/19/18 Page 32 of 69   32




 1   A    Yes.

 2   Q    But I understand that you're giving up that right, so

 3   if you did make any statements to the government negotiating

 4   your plea with them, and if you make any statements here

 5   today about your case if for some reason this guilty plea

 6   goes away and then you're prosecuted for offenses related to

 7   what was said those statements would be able to be used

 8   against in the future.       Do you understand that?

 9                MR. TAYLOR:    Respectfully, your Honor, that waiver

10   applies if he withdraws his plea or withdraws from the

11   agreement.

12                THE COURT:    That's what I said if it goes away for

13   some reason.

14                MR. TAYLOR:    Well, if he withdraws from the

15   agreement he has not waived the protections.         I beg your

16   pardon.     You read it correctly.

17   BY THE COURT:

18   Q    You understand that, sir?

19   A    Yes.

20   Q    Understanding that, do you still want to plead guilty?

21   A    Yes, I understand.

22   Q    And understanding that, do you still want to plead

23   guilty?

24   A    Yes.

25   Q    Now I don't think this is going to be an issue because
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 1   I would expect that we're going to go to sentencing sometime

 2   in the near future, sometime in January, but you are under

 3   this agreement giving up your right to a speedy sentencing.

 4   You do have a right to a speedy sentence, which mean you

 5   have to be sentenced within a reasonable period of time

 6   after you've entered your plea of guilty.        Do you understand

 7   that?

 8   A       Yes.

 9   Q       Now you are giving up certain rights that you have

10   regarding an appeal.     And the right to an appeal is the

11   right to take your case to a Higher Court to raise issues

12   about what took place in this court.        Do you understand

13   that?

14   A       Yes.

15   Q       And the rights you're giving up you're giving up the

16   right to go to the Higher Court to say that the statute that

17   you're pleading guilty to is unconstitutional in violation

18   of the United States Constitution.       Do you understand that?

19   A       Yes.

20   Q       And you're also giving up your right to go to the

21   Higher Court and to say to that court that the conduct you

22   engaged in is not covered by the statute that you're

23   pleading guilty to.     Do you understand that?

24   A       Yes.

25   Q       And in reference to your sentencing you also are giving
     Case 1:17-cr-00046-RBW Document 220 Filed 12/19/18 Page 34 of 69   34




 1   up the following rights and that's the right to challenge

 2   the term of your incarceration, the fine if there were a

 3   fine, the forfeiture which you've agreed to, an award of

 4   restitution which the government isn't requesting, and the

 5   terms of conditions of your supervised release, but the

 6   government is not requesting that you receive supervised

 7   release.    And the authority of me to set conditions of your

 8   release, and also the manner in which your sentence was

 9   imposed.    Do you understand that?

10   A    Yes.

11   Q    However, you do keep the right because the law says I

12   can only give you a certain sentence.        And if I gave you a

13   sentence above what the law permits you'd have a right to

14   take that to a Higher Court.      And although it's not going to

15   apply here if the sentencing guidelines were applied, and I

16   gave you a sentence above the top of the sentencing

17   guidelines then you'd have a right also to take that issue

18   to the Higher Court.     Do you understand that?

19   A    Yes.

20   Q    Also, if you were to take the position that your

21   lawyers had not provided to you appropriate legal

22   representation you would also still have a right to take

23   that issue to the Higher Court.       Do you understand that?

24   A    Yes.

25   Q    I assume you all have explained to him the
     Case 1:17-cr-00046-RBW Document 220 Filed 12/19/18 Page 35 of 69    35




 1   circumstances regarding the Court of Appeals and what needs

 2   to be done in reference to that.       Do you think I need to

 3   cover that with him?

 4               MR. TAYLOR:   I don't think so.     We have explained

 5   to him that if you indicate provisionally that you will

 6   accept the plea then we will move the Court of Appeals to

 7   dismiss the appeal in its entirety and remand the entire

 8   case to you.

 9   BY THE COURT:

10   Q    Do you understand that?      I have had a chance to look at

11   this plea agreement, to consider what the government says

12   your prior history is, to consider what the agreement is

13   regarding what the sentence should be and I do think that

14   the agreement is reasonable.      And under those circumstances

15   absent me finding out some additional information, which I

16   assume will not be the case, I would agree to the plea

17   agreement that's been agreed to by you, your lawyer and the

18   government.     Do you understand that?

19   A    Yes.

20   Q    And based upon that, your lawyers as I'm sure they have

21   told you, will go to a Court of Appeals where the case is

22   pending now and ask that the case be sent back to this

23   Court, so I can enter a final judgment regarding your

24   sentencing.     Do you understand that?

25   A    Yes.
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 1   Q    Now a person who has pled guilty to a case under

 2   certain circumstances can bring their case back to this

 3   Court to challenge the sentence that they received.          Do you

 4   understand that?

 5   A    I understand.

 6   Q    Now I understand that you're giving up most of those

 7   rights.     However, if you were to discover what is called

 8   newly discovered information, information that you didn't

 9   know about at the time of your sentencing and that would

10   have an impact on your sentencing, then you would have a

11   right to bring that new information to me in support of

12   reducing your sentence.      Do you understand that?

13   A    Yes.

14   Q    Also to the extent that the United States Court of

15   Appeals for the District of Columbia or the Supreme Court

16   would determine that the conduct that you engaged in is

17   conduct that's not covered by the statute that you pled

18   guilty to then you'd also have a right to bring that issue

19   back to me in support of your challenging your sentence.           Do

20   you understand that?

21   A    Yes.

22   Q    Also, if you were to take the position that you had not

23   received appropriate representation from your lawyers you

24   have a right to bring that issue to me in support of

25   changing your sentence.      Do you understand that?
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 1   A       Yes.

 2   Q       Now although it really doesn't apply in this case, if

 3   you were sentenced under the United States Sentencing

 4   Guidelines, and those guidelines were changed to your

 5   benefit then you'd have a right to bring that issue to me in

 6   support of your sentence being reduced.        Do you understand

 7   that?

 8   A       Yes.

 9   Q       Now there are two federal laws that sometimes people

10   who are convicted of a crime or pled guilty to a crime will

11   use in order to try and find information about their case

12   after they've been sentenced.       And one of those is the

13   Privacy Act and the other one is the Freedom of Information

14   Act.     Do you understand that?

15   A       Yes.

16   Q       I understand that you're giving up your right to use

17   either one of those statutes to get additional information

18   about your case from the government after you're sentenced.

19   Do you agree to that?

20   A       Yes.

21   Q       And we've covered at least in part the restitution

22   obligation you have in this case.       But you do have an

23   obligation as a part of this agreement to pay the

24   $50 million restitution and it has to be paid before you're

25   sentenced.     And it will be paid to the Clerk of the Court.
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 1   Do you understand that?

 2               MR. TAYLOR:    I think it's paid to United States

 3   Marshals Service.

 4               THE COURT:    It says payment of restitution, if

 5   any, shall be made to the Clerk of the Court under --

 6               MR. TAYLOR:    That's restitution.     There is no

 7   restitution.

 8               THE COURT:    I'm sorry, restitution.     There is no

 9   restitution, so I don't need to cover that.

10   BY THE COURT:

11   Q    But in reference to -- you're right, in reference to

12   the forfeiture then that would be, you have an application

13   to pay that to the government before you're sentenced.             Do

14   you understand that, sir?

15   A    Yes.

16   Q    And you agree that the information set forth in the

17   superseding indictment is sufficient justification for the

18   forfeiture in this case?

19   A    Yes.

20               THE COURT:    Is there anything else regarding the

21   restitution.    There's a lot here, but it doesn't seem to

22   apply.   As I understand he will make the arrangements to pay

23   the remainder of the restitution as otherwise is not already

24   collectible, and that he'll pay that before he's sentenced.

25               MR. TAYLOR:    Not to be a pest, but you continue to
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 1   refer to it as restitution.

 2                   THE COURT:     It's forfeiture.   My fault.

 3                   MR. TAYLOR:     Just so the record.    Yes, we've been

 4   through it thoroughly.

 5                   THE COURT:     Anything else?

 6                   MR. GILLICE:     I ask that the Court go through

 7   Paragraph D in the Forfeiture Section XI(d).

 8                   MR. TAYLOR:     Yes.

 9   BY THE COURT:

10   Q       Okay.     Now I understand that you, sir, and the

11   government have agreed that if banking issues prevent funds

12   from being transferred by the date of the scheduled

13   sentencing that you and the government will jointly request

14   a delay in the scheduled sentencing date.             Do you understand

15   that?

16   A       Yes.

17   Q       I understand that you and the government further agree

18   that if the transfer of funds described in reference to the

19   forfeiture is not accomplished prior to 180 days after you

20   enter your guilty plea before this Court, or any earlier

21   deadline that I set for the transfer of these funds that you

22   will be deemed to have breached or violated this agreement.

23   Do you understand that?

24   A       Yes.

25   Q       Also, in reference to the forfeiture in this case there
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 1   are certain constitutional rights under the United States

 2   Constitution and also under the statutes of the United

 3   States related to the forfeiture of property that you can

 4   either argue before this Court or on appeal.         I understand

 5   that you're waiving or giving up any arguments you can make

 6   regarding the forfeiture of the $50 million either before

 7   this Court or before a Higher Court; is that right?

 8   A    Yes.

 9   Q    I assumed since you don't live here and you've never

10   lived here that you are not going to oppose you being

11   deported or removed from this country and sent back to your

12   home country; is that right?

13   A    Yes.

14   Q    And because of the crime that you are pleading guilty

15   to you would have to be removed from this country after you

16   finished your sentence and sent back to your home country.

17   Do you understand that?

18   A    Yes.

19   Q    And you agree to that?

20   A    Yes.

21   Q    And understand that you are agreeing to a stipulated

22   order of the court for your removal under the United States

23   Code; is that correct?

24   A    Yes.

25   Q    And you are consenting to that order being executed and
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 1   you being removed from the country?

 2   A    Yes.

 3   Q    And under the United States Code you do have a right to

 4   receive notice that the government is seeking your removal,

 5   but I understand that you're giving up your right to receive

 6   that notice; is that right?

 7   A    Yes.

 8   Q    And the United States I understand has sought and has

 9   received permission from the secretary of the Department of

10   Homeland Security to seek your removal from the United

11   States.     Do you understand that?

12   A    Yes.

13   Q    And you understand the government is requesting that I

14   make a finding that you have consented to your removal from

15   the country and that I will agree to that.         Do you

16   understand that?

17   A    Yes.

18   Q    So you understand that you're not going to be taking

19   any position in support of you not being removed from the

20   United States once you finish your sentence.         Do you

21   understand that?

22   A    Yes.

23   Q    And you're agreeable to fully cooperating with the

24   government regarding your removal from the country of the

25   United States.     Do you understand that?
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 1   A    Yes.

 2   Q    Now you do have an obligation to comply with all of the

 3   terms and conditions of this agreement and you also have an

 4   obligation not to commit any further criminal offenses

 5   before you're sentenced.      Do you understand that?

 6   A    Yes.

 7   Q    If you did not comply with the terms of this agreement

 8   or if you committed a new crime there are certain

 9   consequences and those are the following; number one, if you

10   violate or not comply with the agreement then the government

11   would be able to walk away from every promise they made to

12   you in this agreement.     Do you understand that?

13   A    Yes.

14   Q    And even though they could walk away from their end of

15   the bargain you nonetheless, would be stuck with this

16   agreement.   Do you understand that?

17   A    Yes.

18   Q    And to the extent that they've agreed not to prosecute

19   you for other criminal offenses that they agreed to dismiss

20   or not pursue, if you breach or violate the agreement then

21   they would be able to prosecute you for those offenses.            Do

22   you understand that?

23   A    Yes.

24   Q    Also, any statements that you would have made to them

25   about this case or any information you provided to them or
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 1   evidence that you provided to them they would be able to use

 2   that evidence against you in future criminal or civil cases

 3   because you violated the agreement.        Do you understand that?

 4   A    Yes.

 5   Q    And that would include any information that you may

 6   have provided to them that you consider to be off the

 7   record.     Do you understand that?

 8   A    Yes.

 9   Q    Now if they took the position you violated this

10   agreement by not complying with the terms of the agreement

11   they only have to prove that violation by what is called a

12   preponderance of the evidence.        Which means they only have

13   to show that it's more likely than not you violated the

14   agreement.     And if they made that showing I would have to

15   conclude that you did violate the agreement and the

16   consequences I just explained would apply.         Do you

17   understand that?

18   A    Yes.

19   Q    If they took the position that you committed a new

20   crime before you were sentenced and that was the basis for

21   the violation they would only have to show that violation by

22   what is called probable cause, which means they'd only have

23   to show it's more probable than not that you did in fact

24   commit the new crime.     And again, if I find they made that

25   showing I would have to conclude that you did violate the
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 1   agreement and the consequences I've just explained would

 2   apply.     Do you understand that?

 3   A    Yes.

 4   Q    Now you should understand that nothing in this

 5   agreement should be considered by you to permit you to

 6   commit the crimes of perjury, to make false statements or

 7   declarations, or to obstruct justice, or to protect you from

 8   prosecution for any crimes not included within this

 9   agreement committed by you after you signed this agreement.

10   Do you understand that?

11   A    Yes.

12   Q    And if you did anything of that nature that would be a

13   breach or violation of the agreement and the government

14   would be able to charge you with that conduct.         Do you

15   understand that?

16   A    Yes.

17   Q    Now as I understand what you've been reviewing with you

18   this 17 page agreement, that this is the entire agreement

19   that you have with the government.       Now I didn't explain to

20   you what would happen if I decided not to accept the

21   agreement, but I have decided to accept the agreement.             So

22   besides those provisions related to that is there anything

23   else that you've agreed to with the government regarding

24   your guilty plea?

25   A    No.
     Case 1:17-cr-00046-RBW Document 220 Filed 12/19/18 Page 45 of 69    45




 1                THE COURT:     Is there anything else that government

 2   counsel or defense counsel believe I need to cover with

 3   Mr. Tajideen before we proceed further?

 4                MR. GILLICE:     Not from the plea agreement, no.

 5   BY THE COURT:

 6   Q    Okay.     Now sir, in order for the government to prove

 7   you guilty of the offense that you're pleading guilty to

 8   they would have to prove the following three things.          One

 9   they would have to prove that you conspired with one or more

10   other persons you understand that to commit the crime you're

11   pleading guilty to.

12   A    Yes.

13   Q    And they'd have to prove that you conspired with one or

14   other persons to commit international money laundering; that

15   is, to transport, transmit or transfer, or attempt to

16   transport, transmit, or transfer a money instrument or funds

17   from a place in the United States to or through a place

18   outside the United States, or to a place in the United

19   States from or through a place outside of the United States.

20   Do you understand that?

21   A    Yes.

22   Q    And they'd have to prove that you did that with the

23   intent to promote, the carrying on of a specific unlawful

24   activity here a violation of the International Emergency

25   Economic Powers Act, which is Title 15 of the United States
     Case 1:17-cr-00046-RBW Document 220 Filed 12/19/18 Page 46 of 69    46




 1   Code, Section 1701 to Section 1706.        Do you understand that?

 2   A    Yes.

 3   Q    Now I have before me this document entitled Statement

 4   of Facts.     It is a six page document, and on the sixth page

 5   I see what appears again to be your signature.         Did you sign

 6   this agreement, sir?

 7   A    Yes.

 8   Q    And did you review the document with your lawyer before

 9   you signed it?

10   A    Yes.

11   Q    And do you understand everything that's in this

12   document?

13   A    Yes.

14   Q    And do you agree to everything that's in the document?

15   A    Yes.

16                THE COURT:     You and your lawyer can have a seat

17   for a minute.     I'll have the government read into the record

18   or summarize what's in the document.        Listen very carefully

19   to what he says because once he's finished I'll ask you some

20   questions.

21                MR. GILLICE:     Your Honor -- Court's brief

22   indulgence.

23                Had this case gone to trial on Count 11 of the

24   superseding indictment, conspiracy to launder monetary

25   instruments in violation of 18 U.S.C. 1956(h), the
     Case 1:17-cr-00046-RBW Document 220 Filed 12/19/18 Page 47 of 69   47




 1   government would prove the following facts beyond a

 2   reasonable doubt; first, on May 27, 2009, Kassim Tajideen

 3   was designated and publicly listed as a specially designated

 4   global terrorist or SDGT by the United States Department of

 5   treasurer, Office of Foreign Assets Control or OFAC located

 6   in the District of Columbia.

 7                Kassim Tajideen maintains that his designation is

 8   improper, even though he never provided financing or any

 9   other support to any other terrorist organization or

10   Hezbollah.     But Mr. Tajideen acknowledges that regardless of

11   this position his designation by OFAC and the prohibitions

12   on transactions attendant to it under the IEEPA and other

13   regulations, were in full force during the period of the

14   conspiracy as defined herein, and that other laws made it

15   unlawful for any person to violate, attempt to violate,

16   conspire to violate, or cause a violation of these

17   prohibitions.

18                At all times between May 27, 2009, and February 15

19   of 2018, Mr. Tajideen was aware of his status as an SDGT, as

20   well as the prohibitions against U.S. persons participating

21   in transactions with him.

22                At all relevant times during the conspiracy

23   period, Mr. Tajideen owned Sicam Limited of Angola and

24   international Cross Trade Limited or ICTC of the United Arab

25   Emirates.
     Case 1:17-cr-00046-RBW Document 220 Filed 12/19/18 Page 48 of 69   48




 1              At all relevant times during the conspiracy

 2   period, Mr. Tajideen and at least five other individuals

 3   under his leadership, including a person named Imad Hassoun,

 4   were aware that because of his SDGT designation,

 5   Mr. Tajideen's assets were blocked from entering or exiting

 6   the United States, and that U.S. persons were legally

 7   prohibited from transacting business with him or with

 8   companies he owned without a license from OFAC.

 9              During the conspiracy period, Mr. Tajideen, and

10   his co-conspirators conducted at least seven commercial

11   transactions with U.S. persons using ICTC to wire transfer

12   funds into the United States from the United Arab Emirates.

13   Commercial transactions were arranged through emails, text

14   messages and phone calls by Kassim Tajideen and by his

15   co-conspirators.     These commercial transactions involve

16   purchases of commercial goods from U.S. persons not licensed

17   by OFAC, and constituting knowing, willful, criminal

18   violations of IEEPA by Mr. Tajideen.

19              During the conspiracy period, Mr. Tajideen and his

20   co-conspirators agreed and conspired to consummate these

21   transactions and other transactions by arranging

22   approximately 16 wire transfers of funds into the United

23   States originating outside the United States, and numerous

24   shipments of goods from America ports to places outside the

25   United States.     Each wire transfer was intended to promote
     Case 1:17-cr-00046-RBW Document 220 Filed 12/19/18 Page 49 of 69   49




 1   an unlicensed transaction, which was a criminal IEEPA

 2   violation.

 3                During these transactions, Kassim Tajideen and his

 4   co-conspirators took steps to conceal and mislead U.S.

 5   persons regarding Mr. Tajideen's ownership of, and benefit

 6   from, ICTC and Sicam.

 7                During the conspiracy period, Mr. Tajideen and his

 8   co-conspirators conspired to wire transfer money into or out

 9   of the United States with the intent to promote unlicensed

10   transactions with U.S. persons, in violation of the business

11   prohibitions and blocking resolutions effected by OFAC

12   designation of Mr. Tajideen as an SDGT.

13                In furtherance of this conspiracy, Mr. Tajideen or

14   his co-conspirators caused a number of wire transfers of

15   funds into the United States from the United Arab Emirates,

16   on the dates shown, which total approximately $5.56 million,

17   and are set forth in a table on page four of the Statement

18   of Facts.

19                Each of the listed wire transfers promoted

20   unlicensed transactions with U.S. persons that violated

21   IEEPA.   Mr. Tajideen and his co-conspirators conducted wire

22   transfers totaling over $50 million which promoted

23   violations of IEEPA.

24                In addition, had this case gone to trial the

25   government's evidence would have shown that during and in
     Case 1:17-cr-00046-RBW Document 220 Filed 12/19/18 Page 50 of 69   50




 1   furtherance of the conspiracy, Mr. Tajideen and his

 2   co-conspirators, knowingly engaged in transactions outside

 3   the United States, which involved transmissions of as much

 4   as $1 billion through the United States financial system

 5   from places outside the U.S. which transmissions involved

 6   the companies International Cross Trade Company and Epsilon

 7   Trading FZE, of the United Arab Emirates.        Mr. Tajideen

 8   admits that he benefited from the transmissions referenced

 9   in this paragraph.

10                In addition, had this case gone to trial,

11   Mr. Tajideen would have disputed the government's theories

12   seeking forfeiture of any funds or property other than those

13   based on the transactions specified in the superseding

14   indictment, which total approximately $30 million.

15   BY THE COURT:

16   Q    Okay.     He can come back up.    Mr. Tajideen, did you hear

17   what the prosecutor just read?

18   A    Yes.

19   Q    Do you agree with what he indicated?

20   A    Yes.

21   Q    Do you disagree with anything he said?

22   A    No, no.

23   Q    Okay.     Now sir, you do have the absolute right to enter

24   a plea of not guilty in this case.       By pleading not guilty

25   you would be forcing the government to take this case to
     Case 1:17-cr-00046-RBW Document 220 Filed 12/19/18 Page 51 of 69    51




 1   trial.     During that trial the government would have the

 2   burden of proving that you're guilty beyond a reasonable

 3   doubt, and you also would have the right to have the help or

 4   the assistance of a lawyer during your trial.         Do you

 5   understand that?

 6   A       Yes.

 7   Q       And do you understand that by entering a plea of guilty

 8   that you're giving up all of those rights?

 9   A       Yes.

10   Q       You also should understand that if you wanted to go to

11   trial in this case that you would have what is called the

12   right to a speedy trial.      That means that the government has

13   an obligation to bring your case to trial within a

14   reasonable period of time after you were charged in this

15   case.     If the government doesn't do that, then your lawyers

16   on your behalf, can request that these charges be dismissed

17   because you were not given your right to a speedy trial.           Do

18   you understand that?

19   A       Yes.

20   Q       And do you understand that by entering a plea of guilty

21   that you're also giving up that right?

22   A       Yes.

23   Q       You also should understand that if you wanted to go to

24   trial in this case that you would have either the right to a

25   trial before a judge, which means the evidence would be
     Case 1:17-cr-00046-RBW Document 220 Filed 12/19/18 Page 52 of 69   52




 1   presented to me by the government, and they would have to

 2   convince me beyond a reasonable doubt that you were guilty

 3   of this crime in order for you to be convicted.         In

 4   addition, you would have the right to a trial before a jury,

 5   which means that 12 people selected from the community would

 6   hear the case, and the government would have to convince all

 7   12 of those people beyond a reasonable doubt that you were

 8   guilty of this crime that you're pleading guilty to before

 9   you could be convicted.      Do you understand that?

10   A    Yes.

11   Q    Now I have before me this document entitled Waiver

12   Trial by Jury with again seems to have your signature on it.

13   Did you sign this?

14   A    Yes.

15   Q    And did you review this with your lawyers before you

16   signed it?

17   A    Yes.

18   Q    And do you understand that by signing this document and

19   by entering a plea of guilty that you're giving up both your

20   right to a trial by a judge and your right to a trial before

21   a jury?

22   A    Yes.

23   Q    You also should understand that if you wanted to go to

24   trial in this case that during the trial the government

25   would have to bring into court those peoples who are
     Case 1:17-cr-00046-RBW Document 220 Filed 12/19/18 Page 53 of 69        53




 1   supposed to know something about this case.         Each of those

 2   individuals would have to take an oath to testify

 3   truthfully.     They'd have to testify with you present in the

 4   courtroom.     And after the government's lawyer finished

 5   questioning those witnesses, your lawyer with your help,

 6   would then have the right to cross-examine or question each

 7   of those witnesses.     Do you understand that?

 8   A    Yes.

 9   Q    And do you understand that by entering a plea of guilty

10   that you're also giving up those rights?

11   A    Yes.

12   Q    You also should understand that if you went to trial in

13   this case that during the trial you, yourself, would have

14   the right to bring into court witnesses who could testify to

15   help you.     Do you understand that?

16   A    Yes.

17   Q    And if those people were not willing to voluntarily

18   come into court I could force them to appear.         Do you

19   understand that?

20   A    Yes.

21   Q    Also you, yourself, would have the absolute right to

22   take the witness stand and testify in your own defense.            Do

23   you understand that?

24   A    Yes.

25   Q    And do you understand that by entering a plea of guilty
     Case 1:17-cr-00046-RBW Document 220 Filed 12/19/18 Page 54 of 69   54




 1   that you're also giving up those rights?

 2   A    Yes.

 3   Q    You also should understand that if you went to trial in

 4   this case that during the trial you would have what is

 5   called the right or the privilege against

 6   self-incrimination.     That means that if you did not want to

 7   testify during your trial no one could force you to do so.

 8   You could sit there during the entire trial and say nothing.

 9   And if you decided not to testify during your trial, I could

10   not say to myself as the judge and the jury could not say to

11   itself as the jury that merely because you were not

12   testifying and telling your side of the story must be some

13   indication that you're guilty.       Do you understand that?

14   A    Yes.

15   Q    And do you understand that by entering a plea of guilty

16   you're also giving up that right?

17   A    Yes.

18   Q    And finally, you're giving the rights that I've

19   explained to you already regarding the rights you otherwise

20   would have on appeal except for the limited rights that I

21   told that you keep.     Do you understand that?

22   A    Yes.

23   Q    Understanding the limited rights of appeal once you

24   enter a plea of guilty and understanding that you're giving

25   up all the other rights I just explained about pleading
     Case 1:17-cr-00046-RBW Document 220 Filed 12/19/18 Page 55 of 69   55




 1   guilty, do you still want to enter a plead of guilty?

 2   A    Yes.

 3   Q    Now besides what you and the government have agreed to

 4   as to what your sentence should be in this case besides

 5   those promises have any other promises been made to you

 6   regarding me being lenient in order to what sentence you

 7   should receive?

 8   A    No.

 9   Q    Has anybody threatened, forced, or coerced you to enter

10   this plea of guilty?

11   A    No.

12   Q    Whose decision is this to plead guilty yours or your

13   lawyer's?

14   A    My decision.

15   Q    And have you had an opportunity to fully discuss this

16   case with your lawyers?

17   A    Yes.

18   Q    And are you totally satisfied with the legal

19   representation they have provided to you?

20   A    Yes.

21   Q    Do you have any complaints you want to make about their

22   representation at this time?

23   A    Yes.

24   Q    Now are you entering this plea of guilty because you

25   are guilty?
     Case 1:17-cr-00046-RBW Document 220 Filed 12/19/18 Page 56 of 69   56




 1   A    Yes.

 2   Q    And are you pleading guilty for any other reason other

 3   than because you're guilty?      Other than the agreement that

 4   you've reached with the government about what sentence you

 5   should receive, other than that agreement, are you pleading

 6   guilty for any other reason other than because you are

 7   guilty?

 8   A    No.

 9   Q    And do you think it's in your best interest to enter a

10   plea of guilty today?

11   A    Yes.

12               THE COURT:    Very well.   I will defer accepting his

13   plea and entering a judgment of guilty until such time as

14   the Court of Appeals remands the case to me for the entry of

15   judgment.    Anything other than coming back on the 18th of

16   January?

17               MR. TAYLOR:    I think you have said on the record

18   that you accept the terms of the --

19               THE COURT:    I do agree to the terms, but I can't

20   obviously accept his plea of guilty.

21               MR. TAYLOR:    We will, we're comfortable

22   representing to the Court of Appeals that you have made that

23   determination as of now.

24               THE COURT:    Right, you can make those

25   representations.
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 1              MR. TAYLOR:     Thank you, your Honor.

 2              THE COURT:     Anything else?

 3              MR. GILLICE:     Yes, your Honor.    With regard -- I

 4   understand we've set the sentencing date for the 18th of

 5   January at 2 p.m.     The consent order of forfeiture, your

 6   Honor, I think --

 7              THE COURT:     You're going to submit that tomorrow,

 8   right?

 9              MR. GILLICE:     Correct.   I would hand up a redacted

10   version or a version with the proposed redactions.

11              THE COURT:     Just give it to my clerk.

12              MR. GILLICE:     This is of the plea agreement that

13   was entered today such that that could be placed on the

14   public docket.

15              THE COURT:     That's the redacted version?

16              MR. GILLICE:     Yes, your Honor.

17              THE COURT:     Then we'll actually give it to the

18   clerk then.    I didn't know you wanted that a part of the

19   record.

20              MR. GILLICE:     And so, your Honor, I guess we would

21   formally move to have that, the actual plea agreement

22   sealed.   Published the redacted version on the record for

23   the reasons we discussed earlier.

24              THE COURT:     I would do that, but I think it would

25   be prudent to submit something in writing to that effect.
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 1              MR. GILLICE:     Very well.

 2              THE COURT:     Anything else?

 3              MR. TAYLOR:     No, your Honor, thank you.

 4              THE COURT:     If I don't see you beforehand have a

 5   nice holiday.

 6              [Thereupon, the proceedings adjourned at 4:09

 7              p.m.]

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     Case 1:17-cr-00046-RBW Document 220 Filed 12/19/18 Page 59 of 69   59




 1                               CERTIFICATE

 2              I, Cathryn J. Jones, an Official Court Reporter

 3   for the United States District Court of the District of

 4   Columbia, do hereby certify that I reported, by machine

 5   shorthand, the proceedings had and testimony adduced in the

 6   above case.

 7              I further certify that the foregoing 58 pages

 8   constitute the official transcript of said proceedings as

 9   transcribed from my machine shorthand notes.

10              In witness whereof, I have hereto subscribed my

11   name, this the 13th day of December, 2018.

12

13
                                     /s/_Cathryn J. Jones
14                                   Cathryn J. Jones, RPR
                                     Official Court Reporter
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